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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELA WARE
    ROUTEl INC.,                                     )
                                                     )
                       Plaintiff /Counterclaim       )
                       Defendant,                    )
                                                     )
             V.                                      )   Civil Action No. 17-cv-331 (KAJ)
                                              )
                                                         REDACTED - PUBLIC VERSION
    AIRWATCH LLC,                             )
                                              )
                       Defendant/Counterclaim )
                       Plaintiff.             )




                                 MEMORANDUM OPINION


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  August 6, 2020
  Wilmington, Delaware

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                                ·uing by designation.

       This suit by Route 1 Inc. ("Route l ") against Air Watch LLC ("AirWatch") asserted

   infringement of U.S. Patent No. 7,814,216 (the "'216 patent"). After I granted summary

   judgment in favor of AirWatch on the question of infringement (D.I. 275), AirWatch

   filed a motion for attorneys' fees. I granted that motion in part, but, because AirWatch

   had not submitted sufficient information for me to determine the amount of fees to be

   awarded, I reserved decision on that point. (D.I. 312.) AirWatch has now provided

   additional information, and Routel has filed a supplemental brief in opposition to

   AirWatch's motion for attorneys' fees. As explained below, I will again grant in part and

   deny in part AirWatch's motion for attorneys' fees.

      I.      BACKGROUND

           The parties are well aware of the background of this case, so I recite only those

   facts relevant to the motion at hand. As I explained in the March 31, 2020 memorandum

   opinion granting in part AirWatch's motion for attorneys' fees, AirWatch is entitled to

   attorneys' fees because "Route 1's conduct over the final course of this case qualifies, in

   my judgment, as exceptional." (D.I. 312 at 6.) I reached that conclusion based on the

   totality of the circumstances and specifically noted that Route l's proposed construction

   of the "instruction" limitation in the patent was illogical and that Routel had taken

   contradictory positions before the PTO in prosecution and before me in litigation. (Id.)

           In granting in part the motion for attorneys' fees, I determined the reasonable

  hourly rates for AirWatch's attorneys. (Id. at 7-8.) I concluded that, for Morrison &

  Forester, the reasonable rate for partners was        in 2018 and       in 2019 and for
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   associates was $500. (Id. at 8.) I found the rates charged for paralegals were reasonable.

   (Id.) For WilmerHale, I found that the reasonable rate for partners was $691 and for

   associates was $500. (Id.) For Young Conway, I found that the rate for partners of

                 from April 2017 to April 2019 and a rate of        from April 2019 to August

   2019 was reasonable, and for associates a rate of             from April 2017 to August

   2019 and a rate of              since August 2019 was reasonable. (Id.) Because AirWatch

   had only provided billing records where the services performed had been redacted, I

   ordered that AirWatch tum over to Routel billing statements that contained sufficient

   information for Routel to determine if it had any objections to AirWatch's fee request,

   and then ordered Routel to comment on the reasonableness of the fees requested. (Id. at

   9.) AirWatch has now provided Routel with those records, and Routel has filed its

   objections.

      II.         DISCUSSION

            Routel argues that the fees requested by AirWatch are unreasonable for a variety

   of reasons. First, Routel argues that AirWatch should only be entitled to fees after May

   2, 2019, the day on which Routel opposed AirWatch's motion for summary judgment,

   because that was when it took the positions that I concluded made this case exceptional.

   Second, Routel points to numerous instances where, in its view, fees were not reasonably

   incurred or were unnecessarily duplicative. I will address the arguments in tum.

            A.       AirWatch is Not Entitled to Fees Incurred Before January 7. 2019

            Route 1 argues that, "[w ]hile findings of exceptionality must be based on a

  conclusion that the entire case is 'exceptional,' ... the amount of fees must bear a
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   relationship to the specific conduct underlying that finding." (D.1. 339 at 2.)

   Accordingly, it argues that, if AirWatch is entitled to any fees, it is only entitled to fees

   incurred after May 2, 2019, the day it filed its opposition to AirWatch's motion for

   summary judgment and took contradictory positions before the PTO in prosecution and

   me in litigation. While I agree that AirWatch is not entitled to fees incurred throughout

   the entire litigation, I disagree with Routel regarding the date upon which Routel took

   the position that made this case exceptional.

          The Federal Circuit has explained that "the amount of the award must bear some

   relation to the extent of the misconduct." In re Rembrandt Techs. LP Patent Litig., 899

   F.3d 1254, 1278 (Fed. Cir. 2018) (internal quotation marks and citation omitted). "[A]n

   award of all of a party's fees, from either the start or midpoint of a suit, may be justified

   in some exceptional cases." Id. at 1279 (internal quotation marks and citation omitted).

   In instances where a party's "extensive misconduct was enough to comprise an abusive

   pattern or a vexatious strategy ... [that] was pervasive enough to infect the entire

   litigation[,]" a full award of attorneys' fees is appropriate. Id. (internal quotation marks

   and citation omitted).

          I agree with Route 1 that it was the contradictory positions that it took that made

   this case exceptional, and, accordingly, AirWatch is not entitled to fees from the

   inception of this case. Route 1, however, first took its contradictory position that Step lg

   encompasses both a host-initiated connection and a remote-initiated connection when it

   served the first expert report of Dr. Robert Akl on January 7, 2019. When Dr. Aki served

  his expert report, it became clear that Routel construed Step lg "as satisfied when a

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   remote establishes a connection to a host, rather than the reverse." (See D.I. 191-1 at 2-3;

   see also id. at 3 ("Even after Route! served those [Final Infringement] contentions, it

   remained unclear why Route I believed that a connection from a mobile device to an

   email server satisfied the 'instruction' limitation until Dr. Akl served his infringement

   report."). AirWatch is therefore not entitled to attorney's fees incurred for work

   performed before January 7, 2019.

          B.     The Reasonableness of the Fees

          The Federal Circuit uses the lodestar method to calculate attorneys' fees. Avera v.

   Sec'y ofHealth and Human Servs., 515 F.3d 1343, 1347 (Fed. Cir. 2008). "Using the

   lodestar approach, a court first determines an initial estimate of a reasonable attorneys'

   fee by multiplying the number of hours reasonably expended on the litigation times a

   reasonable hourly rate." Id. at 1347-48 (internal quotation marks and citations omitted).

          In its supplemental opposition to AirWatch's motion for attorney's fees, Routel

   has divided its objections by time period and has identified fees that it believes are

   unreasonable in each time period. It has accompanied its motion with exhibits of those

   billing records, which are divided by time period and further sub-divided by Route I's

   objections. For ease of reference, I will follow the structure Routel set forth in its

   supplemental opposition.




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                  1.     May 2. 2019 through February 28, 2020

                           a.   Fees that AirWatch Cannot Recover

          I agree with Routel that the invoice entries found in Exhibit A-1 1 for

   are not recoverable because their line-item descriptions indicate that they were deducted

   from the bill to AirWatch. I also agree with Routel that the entries in Exhibit A-2 for

                 and Exhibit A-3 for                 are not recoverable because they are

   redacted entirely or partially.

          I agree with Route! that AirWatch is not entitled to            for the time it billed to

   prepare and pursue the deposition of Mr. Yuri Poeluev found in Exhibit A-11. AirWatch

   never cited that deposition for any reason.

                           b.   Fees that AirWatch Can Recover

          I conclude that AirWatch is entitled to fees of               that Route I has

   categorized as administrative time entries in Exhibit A-4. Many of the billing entries

   concern decisions regarding what redactions should be made to various documents,

   reviewing the case status and upcoming deadlines, and drafting letters to the Court.

   Those matters were appropriately done by attorneys. Similarly, the entries in that

   category performed by legal assistants include preparing materials for hearings and for

   attorneys and were appropriately performed by legal assistants.




          1
           All exhibits refer to the exhibits attached to the declaration of Aaron M.
   Williams in support of Route I's supplemental opposition to AirWatch's motion for
   attorneys' fees. (D.I. 340.)
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          I conclude that Air Watch is entitled to fees of           that Routel has

   categorized as appeal related in Exhibit A-5. Routel states that AirWatch has disclaimed

   any recovery of fees for appeal preparation but does not provide a citation to where

   AirWatch disclaimed those fees. Moreover, the fees in Exhibit A-5 relate to research

   AirWatch's attorneys did to see how Routel 's decision to immediately appeal the

   noninfringement decision and the parties' decision to dismiss without prejudice the

   invalidity counterclaims would affect AirWatch's ability to bring this fee motion. Thus,

   those fees were reasonably incurred in researching this motion.

          I conclude that AirWatch is entitled to fees of            for claim construction

   time entries found in Exhibit A-6. Route 1 argues that those entries reflect work that was

   performed by a partner or counsel that could have been performed by an associate or that

   took longer than appears reasonable. I disagree. The great majority of the entries include

   revising briefs, the exact work that partners and counsel often perform, and the entries are

   reasonable.

          I conclude that Air Watch is entitled to fees of           for Daubert time entries

   found in Exhibit A-7. The billing entries for the preparation of the Daubert motions are

   reasonable.

          I conclude that Air Watch is entitled to fees of           for invalidity trial

  preparation time entries found in Exhibit A-9. Some of what Routel characterizes as

  Invalidity Trial Preparation was AirWatch evaluating its options following the grant of

  summary judgment on infringement. It was reasonable for AirWatch to research its

  options regarding how to handle the invalidity case at that time. Similarly, it was entirely

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   reasonable for the parties to prepare for a trial that was imminent, even if both were in

   good faith negotiations seeking to avoid trial.

          I conclude that Air Watch is entitled to fees of           for reexamination related

   time entries found in Exhibit A-12. Routel states that AirWatch has disclaimed recovery

   for those fees but does not provide a citation for that disclaimer. The    hours billed in

   connection with the reexamination of the patent are reasonable.

          I conclude that AirWatch can recover fees of               for the dispositive

   motion reply briefing found in Exhibit A-13. Route I argues that it was unreasonable for

   AirWatch to use twelve timekeepers and to bill      hours in preparing AirWatch's reply in

   support of its motion for summary judgment. But Route 1 fails to acknowledge that those

   entries were for preparation of replies both in support of AirWatch's motion for summary

  judgment and its Daubert motion. Additionally, while twelve timekeepers were used,

   seven of them billed fewer than       hours to the reply briefs. The amount sought is not

   unreasonable.

         I conclude that AirWatch can recover fees of                related to preparation for

  the Court's June 26, 2019 hearing, the entries for which are in Exhibit A-16. Routel

   argues that the number of hours           is excessive compared to the length of the

  hearing and that it was unreasonable for 14 timekeepers to be involved in preparing for

  that hearing. I disagree. The hearing was on dispositive and Daubert motions and was

  thus a critical juncture in the case. While I acknowledge that the amount of time

  AirWatch attorneys spent preparing is significant, I do not think it was unreasonable,

  considering the stage of the litigation.

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          I conclude that AirWatch is entitled to the                that Route I categorizes as

   trial preparation time entries found in Exhibit A-17. Those entries reflect research spent

   reviewing local rules, my pre-trial and trial practices, and drafting trial exhibit lists. It

   was reasonable for AirWatch to bill for those matters before I ruled on the summary

   judgment motion.

          I conclude that AirWatch can recover the fees for                  that Route!

   categorizes as internal/client communications in Exhibit A-18, and the fees for

   that Route! categorizes as general email review in Exhibit A-19. The entries in Exhibits

   A-18 and A-19 show attom~ys discussing strategy with each other and with their client.

   The amount of correspondence from May 9, 2019 to February 29, 2020 is reasonable.

          I conclude that AirWatch can recover fees of                  that Route! categorizes

   as unclassified time entries in Exhibit A-20. Those entries include correspondence

   between counsel regarding strategy, reviewing court orders and opinions, and preparation

   for a court hearing regarding the parties' motion seeking a Rule 54(b) judgment, all of

   which was reasonably expended time and effort.

                          c.    Fees of Which AirWatch Can Recover a Reduced Amount

          I conclude that AirWatch can recover 50% of the fees it billed in connection with

   its exceptional case briefing, found in Exhibit A-8. AirWatch billed            hours and

                on that motion. The opening and reply brief were not overly complicated,

  and that amount of time is unreasonable. Accordingly, I conclude that it should be cut in

  half.



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         I conclude that AirWatch can recover 25% of the fees it billed in connection with

  its potential opposition to the motion to dismiss the invalidity claim, found in Exhibit A-

   10. AirWatch billed       hours for              . Ultimately, AirWatch never filed any

  opposition. It joined a request that I make a determination under Federal Rule of

  Evidence 54(b) that there was no reason to delay entering a final judgment as to the

  infringement claim, and, when I declined to do that, AirWatch stipulated to the dismissal

  of its counterclaim. Despite AirWatch's ultimate decision to join Rouel, it was not

  unreasonable for AirWatch to perform some research and determine its best course of

  action. But it was unreasonable for it to bill      hours to that issue. Accordingly,

  AirWatch is entitled to 25% of the amount it seeks from Exhibit A-10.

         I conclude that AirWatch can recover 10% of the fees it billed in connection with

  its stipulated dismissal, found in Exhibit A-14. AirWatch billed        hours, worth

            , in preparing a one sentence stipulated dismissal. That is an unreasonable

  amount to bill for a short and straightforward filing.

         I conclude that Air Watch is entitled to some of the fees that Routel has

  categorized as AirWatch's summary judgment briefing time entries found in Exhibit A-

  15. Routel states that AirWatch should not be entitled to the             found in Exhibit

  A-15 because the entries related to AirWatch's summary judgment briefing and

  AirWatch had already filed that brief. That is true for some of the entries, and AirWatch

  is not entitled to recover for those. Route 1, however, failed to acknowledge that some of

  the time entries it has put in Exhibit A-15 were for work performed in preparing a

  supplemental letter to the court regarding additional cases, which AirWatch submitted

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   after it had filed its motion for summary judgment. AirWatch is entitled to recover fees

   for those time entries, which are the entries of Anne Shea Gaza (        hours for a total of

               ) and two of the entries for Samantha Wilson (      hours for         ).

                   2.     March 21 , 2019 through Mav 2, 2019

                           a.    Fees that AirWatch Cannot Recover

          I agree with Routel that the invoice entries found in Exhibit B-1 for

  and Exhibit B-2 for                are not recoverable because they are redacted entirely or

  partially.

         As I determined in the section regarding the time period after May 2, 2019, I agree

  with Routel that AirWatch is not entitled to the time it billed to prepare and pursue the

  deposition of Mr. Yuri Poeluev. Thus, AirWatch is not entitled to                   it billed

  related to that deposition, found in Exhibit B-6.

                           b.   Fees that AirWatch Can Recover

         I conclude that Air Watch is entitled to fees of                that Routel has

  categorized as administrative time entries in Exhibit B-3. Many of the entries that

  attorneys performed concern decisions regarding what deposition testimony should be

  marked confidential and preparing errata sheets after depositions. Those matters were

  appropriately done by attorneys. Similarly, the entries in that category performed by

  legal assistants include updating case deposition databases and serving confidentiality

  designations and errata sheets and were appropriately performed by legal assistants.

         I conclude that AirWatch is entitled to                for claim construction time

  entries found in Exhibit B-4. Routel argues that those time entries must be unnecessarily

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   duplicative because of the number of timekeepers - six lawyers and one paralegal. I

   disagree. The entries appear to be reasonable and not duplicative. Additionally, the

   majority of the hours (       of the      hours) were billed by one associate.

            I conclude that AirWatch is entitled to               for what Routel has

  categorized as Daubert time entries in Exhibit B-5. I note that, although Routel

  categorizes those entries as related to the preparation of Daubert motions, the entries

  actually include time spent working both on Daubert and summary judgment motions.

  During that time period, AirWatch filed both summary judgment and Daubert motions,

  and I find that the time billed for those motions is reasonable.

         I conclude that AirWatch is entitled to                 for summary judgment time

  entries found in Exhibit B-7. AirWatch filed its motion for summary judgment on April

  18, 2019. I find that          hours is reasonable in prep';l,ring that motion, which was

  ultimately case-dispositive.

         I conclude that AirWatch is entitled to                for trial preparation time entries

  found in Exhibit B-8. Although Routel categorizes those time entries as related to trial

  preparation, the majority of them relate to developing arguments for summary judgment,

  Daubert, and in limine motions. The few entries that were related to trial preparation

  include       hours spent

                                                        " and     hours spent

                                                                 " (DJ 340-2 at 25-26.)

  Although those entries were from more than eight months before trial, all of the time

  entries in Exhibit B-8 appear to be reasonable.

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           I conclude that AirWatch can recover fees for               that Routel categorizes

   as internal/client communications in Exhibit B-9, and the fees for              that Route I

   categorizes as general email review in Exhibit B-10. Like the entries in Exhibits A-18

   and A-19, the entries in Exhibits B-9 and B-10 show attorneys discussing strategy with

  each other and with their client. The amount of correspondence from March 21, 2019 to

  May 9, 2019 is reasonable.

           I conclude that Air Watch can recover fees of             that Route I categorizes

  as unclassified time entries in Exhibit B-11. Those entries include revising letters to

  Route! and legal research. All of those fees are reasonable.

                  3.     Before March 21 , 2019

      As I already concluded, AirWatch is only entitled to fees incurred after January 7,

  2019 .

                           a.   Fees that AirWatch Cannot Recover

           I agree with Routel that the invoice entries found in Exhibit C-1 for

  Exhibit C-2 for               , and C-3 for               are not recoverable because their

  line-item descriptions indicate that they were deducted from the bill to AirWatch or are

  redacted entirely or partially.

           I agree with Route I that the invoices found in Exhibit C-5 for Canadian letter

  rogatory time entries are not recoverable. AirWatch sought to take the depositions of

  four third-party witnesses in Canada, and the Court denied AirWatch's request as to two

  of them. (D.I. 160.) As for the other two, AirWatch did not cite the deposition in support



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   of AirWatch's motion for summary judgment, and thus I conclude that AirWatch is not

   entitled to fees incurred in seeking to take those depositions.

          I conclude that AirWatch is not entitled to the fees in Exhibit C-6 related to the

   filing of its motion to stay pending Inter Partes Review, Exhibit C-8 related to the

  Markman briefing, Exhibit C-9 related to motions to compel, and Exhibit C-10 relating to

  the transition between counsel because all of those entries occurred before January 7,

  2019.

                          b.   Fees that AirWatch Can Recover

          I conclude that AirWatch is entitled to the fees, incurred after January 7, 2019, that

  Routel has categorized as administrative time entries in Exhibit C-4. Many of the entries

  concern updating invalidity contentions, finalizing briefs and stipulations, quality

  checking the documents that were going to be produced, and drafting errata sheets

  following depositions. Those matters were appropriately done by attorneys. Similarly,

  the entries in that category performed by legal assistants include updating deposition

  exhibit logs and preparing documents to be reviewed by experts and were appropriately

  performed by legal assistants

          I conclude that AirWatch can recover the fees that Routel categorizes as

  internal/client communications in Exhibit C-7 and as general email review in Exhibit C-

  13, to the extent they were incurred after January 7, 2019. As with the prior entries

  dealing with internal/client communications and with general email review, the entries in

  Exhibits C-7 and C-13 show attorneys discussing strategy with each other and with their

  client. The amount of correspondence was reasonable.

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            AirWatch is entitled to recover for the one time entry relating to certain fact

  depositions in Exhibit C-11 that occurred after January 7, 2019. An associate at Morrison

  & Foerster billed        hours on February 13, 2019 to



            ." The fee is reasonable.

            I conclude that AirWatch is entitled to recover fees that Routel categorizes as

  other deposition time entries in Exhibit C-12, to the extent they were incurred after

  January 7, 2019. The time entries related to depositions after that date include time spent

  preparing and attending depositions, and the time entries are reasonable.

            AirWatch can also recover fees that Routel categorizes as unclassified time

  entries in Exhibit C-14, to the extent they were incurred after January 7, 2019. Those

  entries include attendance at calls with a mediator and a magistrate judge, reviewing and

  commenting on expert reports, legal research, drafting letters to the Court, and reviewing

  documents and privilege logs. Those entries are reasonable.

     III.      CONCLUSION

            For the foregoing reasons, AirWatch' s motion for attorneys' fees will be granted

  in part and denied in part. Route I shall pay AirWatch for those attorneys' fees that I

  have found were reasonably incurred, as set forth herein. The parties shall submit a

  proposed order reflecting the amount of fees that Route! owes to AirWatch in accordance

  with this opinion on or before August 13, 2020.




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